
55 So. 3d 984 (2011)
STATE of Louisiana
v.
Hung NGUYEN.
Nos. 10-898, 10-483.
Court of Appeal of Louisiana, Third Circuit.
February 2, 2011.
Alfred F. Boustany, II, Lafayette, LA, for Defendant/Appellant, Hung Nguyen.
J. Phillip Haney, District Attorney, New Iberia, LA, for Appellee, State of Louisiana.
Jeffrey J. Trosclair, Assistant District Attorney, Franklin, LA, for Appellee, State of Louisiana.
Court composed of OSWALD A. DECUIR, MARC T. AMY, and J. DAVID PAINTER, Judges.
MARC T. AMY, Judge.
For disposition of this consolidated matter, see State of Louisiana v. Hung Nguyen, 10-483 (La.App. 3 Cir.2/2/11), 55 So. 3d 976, 2011 WL 309185.
CONVICTIONS AFFIRMED. SENTENCES VACATED. REMANDED WITH INSTRUCTIONS.
